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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           CRIMINAL NO: 22-CR-223 (NEB/DTS)



United States of America,
              Plaintiff,                 DEFENDANT BOCK’S MOTION TO
                                         COMPEL THE GOVERNMENT TO
vs.
                                         PRODUCE DISCOVERY PURSUANT TO
                                         FEDERAL RULES OF CRIMINAL
                                         PROCEDURE, RULE 16 AND BRADY V.
Aimee Marie Bock (1),
                                         MARYLAND
              Defendant.




                                       INTRODUCTION

       Defendant Aimee Marie Bock (hereinafter “Defendant”), through her counsel,

Kenneth Udoibok, respectfully moves this Court to compel the United States of America

(hereinafter “Government”) to produce complete discovery in this case pursuant to Rule

16 of the Federal Rules of Criminal Procedure and Brady v. Maryland, 373 U.S. 83

(1963). Although Defendant has made informal attempts to resolve this issue and the

Government has expressed willingness to comply, Defendant herewith formally requests

the production of outstanding materials obtained from Feeding Our Future’s employee

electronic devices, Monday.com, Center Pilot, and CLiCS. These materials are critical to

Defendant’s defense, particularly with the upcoming trial, as their absence would

significantly hinder her ability to mount an effective defense.

       The Government has indicted Defendant for her alleged role as Executive Director

of Feeding Our Future, where she is accused of overseeing a scheme to defraud the

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Federal Child Nutrition Program. The indictment claims that Defendant and Feeding Our

Future recruited individuals and entities to establish over 200 fraudulent sites that falsely

claimed to provide meals to thousands of children daily. Despite knowing these claims

were fraudulent, Defendant is alleged to have submitted them to the Minnesota

Department of Education (MDE) and facilitated the disbursement of fraudulently

obtained funds. Additionally, the indictment asserts that Defendant and Feeding Our

Future dramatically increased the number of fraudulent sites, leading to a rise in funds

received—from $3.4 million in 2019 to nearly $200 million in 2021. Defendant is also

alleged to have solicited and received bribes and kickbacks, written fraudulent checks for

$1,135,171 in Federal Child Nutrition Program funds, sold the Southcross site for

$310,000 through a fraudulent contract, and signed applications and vendor contracts to

facilitate the scheme. (Doc. #1, ¶¶ 10, 24, 28, 30, 33, 48, 89, 103, 104, 106, 116, 140, and

141).

                                         BACKGROUND

        This Court is familiar with the scope of discovery in this case (Doc. #129, p. 2).

Defendant has made timely discovery requests and engaged in informal efforts to obtain

crucial exculpatory materials. As of the filing of this motion, however, the Government

has not provided all such materials. Another round of disclosures was made today, but

informal discussions continue, and the materials in question remain in the Government’s

custody.

        Defendant is aware that these materials exist because they were seized by the

Government during the execution of search warrants. Notably, a member of the media,

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Zara Frost, has written multiple articles utilizing materials the Government has yet to

provide to Defendant. Despite this, the documents made available to Defendant have

been delivered in unusable formats for review, while Frost has accessed and used the

materials in her reporting. See Nourishing Truth – Unpacking the Feeding Our Future

Scandal, https://feedingourfuture.substack.com. Some of Frost’s articles include

embedded photographs, videos, and audio recordings that are only found on the

electronic devices of Feeding Our Future employees, including those associated with

Monday.com, Center Pilot, and CLiCS.

       Defendant now moves this Court to order the Government to produce the materials

from Feeding Our Future, including those from Monday.com, Center Pilot, CLiCS, and

the devices of Feeding Our Future employees, including cell phones and iPads seized

during the investigation. These materials are critical to Defendant’s defense, as they have

already been used in the Government’s previous trial in United States v. Abdiaziz Shafii

Farah, et al., 22 CR 124 (NEB/DTS), and, despite confirmation of their existence by the

media, the Government has not produced them to Defendant, even though they have been

disclosed to other defendants in the case.

       Monday.com

       Monday.com is a cloud-based project management platform used by Feeding Our

Future to process and manage claims. Employees input claims from sponsored sites into

Monday.com, which were then transmitted to Center Pilot for further processing. The

materials stored in Monday.com are central to the Government’s conspiracy and bribery

charges and may provide exculpatory evidence that supports Defendant's case.

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       Center Pilot

       Center Pilot is a web-based software used to manage claims for the Child Care

Food Program (CACFP). Feeding Our Future employees used this system to populate

claims for submission to the MDE through CLiCS. All claims submitted by Feeding Our

Future were processed via Center Pilot, and the information within it could shed light on

the procedures and oversight involved in claim submission, providing crucial evidence

for Defendant’s defense.

       CLiCS

       CLiCS (Cyber-Linked Interactive Child Nutrition System) is the application used

by MDE to manage federally assisted nutrition programs in Minnesota. Feeding Our

Future submitted claims for reimbursement through CLiCS. However, the Government

has withheld complete access to these claims, even though it possesses them. CLiCS

contains vital information, including the identities of individuals who submitted claims

and MDE personnel involved in reviewing and approving them, which is essential to

Defendant’s defense and the jury’s understanding of the scope of the alleged fraud.

       Electronic Devices

       Feeding Our Future employees used their electronic devices for daily

communications, site inspections, and activities related to the Federal Child Nutrition

Program. The Government seized a significant number of devices, including phones and

tablets, but only a limited number of these have been produced to Defendant.

Furthermore, the disclosed devices were provided in unusable formats. Meanwhile,

media reports, particularly by Zara Frost, suggest that Frost has accessed critical audio

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and video recordings from these devices. The materials on these devices are exculpatory

and necessary for Defendant’s case, as indicated by the following articles written by

Frost:

          1. The Real Story of Hadith Ahmed: A 'Right-Hand Man' or a Rogue Actor in the

Feeding Our Future Case? (https://feedingourfuture.substack.com/p/the-real-story-of-

hadith-ahmed).

          2. “Figure It Out Yourselves,” How MDE Abandoned Those Seeking Help, Then

Helped Prosecute Them. (https://feedingourfuture.substack.com/p/figure-it-out-

yourselves).

          3. When Approval Becomes Entrapment

(https://feedingourfuture.substack.com/p/when-approval-becomes-entrapment).

          4. Feeding Our Future: A Rogue Actor, Tunnel Vision, and the Case for

Transparency. (https://feedingourfuture.substack.com/p/feeding-our-future-a-rogue-

actor).

          5. When Oversight Becomes Afterthought.

(https://feedingourfuture.substack.com/p/when-oversight-becomes-afterthought).

          6. From Terminations to Transfers: Operational Patterns That Dispute The Pay-to-

Play Narrative. (https://feedingourfuture.substack.com/p/from-terminations-to-transfers-

operational).

          7. Feeding Our Future: When Surveillance Footage Contradicts Fraud Allegations.

(https://feedingourfuture.substack.com/p/feeding-our-future-when-surveillance)



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       8. MDE's Credibility Crisis: The Crumbling Foundation of the Feeding Our

Future Investigation. (https://feedingourfuture.substack.com/p/mdes-credibility-crisis)

       9. Exclusive: Potential Game-Changer in Feeding Our Future Case.

(https://feedingourfuture.substack.com/p/exclusive-potential-game-changer).

       10. When Oversight Becomes Afterthought: How MDE Ignored 75 Boxes of

Records While Claiming Fraud at Feeding Our Future.

(https://feedingourfuture.substack.com/p/when-oversight-becomes-afterthought).

       This memorandum supports Defendant’s motion to compel the production of

materials stored on Monday.com, Center Pilot, CLiCS, and the electronic devices of

Feeding Our Future employees. The Government obtained these materials, used some in

its last trial, United States v. Abdiaziz Shafii Farah, et al., 22 CR 124 (NEB/DTS), and

may have disclosed them to other defendants. However, the Government has failed to

provide them to Defendant, despite media confirmation of their existence. The

Government previously promised to disclose these materials during a status conference

with this Court. While Defendant has reviewed the Government’s discovery letter

accompanying today’s new disclosures, the materials from Monday.com, Center Pilot,

CLiCS, and employees’ devices are still absent.

                                           ANALYSIS

       Under the Brady doctrine, the prosecution must disclose all evidence favorable to

the accused that is material to guilt or punishment. Dye v. Stender, 208 F.3d 662, 665 (8th

Cir. 2000) (citing Brady, 373 U.S. at 87). This includes favorable evidence known to law

enforcement. United States v. Walrath, 324 F.3d 966 (8th Cir. 2003); United States v.

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Robinson, 809 F.3d 991, 996 (8th Cir. 2016). Defendant seeks the disclosure of materials

from Monday.com, CLiCS, Center Pilot, and Feeding Our Future employees’ devices, all

of which contain evidence favorable to Defendant. The existence of these materials has

been confirmed by Zara Frost’s reports, as noted above. The failure to produce these

materials would violate Defendant’s right to a fair trial and undermine the fairness of the

proceedings.

       The withheld materials are crucial to Defendant’s defense as they provide insight

into how Feeding Our Future’s claims were processed, which could exonerate Defendant

by demonstrating that she did not oversee a fraudulent scheme. The Government’s failure

to disclose these materials creates a reasonable probability that Defendant would not be

able to mount an effective defense. Therefore, the failure to produce this evidence

violates the Brady rule and threatens the fairness of the trial. See United States v.

Jeanpierre, 636 F.3d 416, 423 (8th Cir. 2011).

                                         CONCLUSION

       For the reasons stated above, Defendant respectfully requests that this Court order

the Government to produce and supplement discovery in compliance with Brady,

including the materials stored in Monday.com, Center Pilot, CLiCS, and the electronic

devices of Feeding Our Future employees.



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                                  KENNETH UBONG UDOIBOK, P.A.

December 11, 2024                       /s/Kenneth U. Udoibok
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